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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re: Chapter 11

PES HOLDINGS, LLC, er al,,' Case No. 19-11626 (KG)

Debtors. (Joint Administration Requested)

Re: Docket No. 5

 

INTERIM ORDER (I) AUTHORIZING
THE DEBTORS TO PAY CERTAIN PREPETITION
CLAIMS OF CRITICAL VENDORS AND (II) GRANTING RELATED RELIEF

 

Upon the motion (the “Motion”)” of the above-captioned debtors and debtors in possession
(collectively, the “Debtors”) for entry of an interim order (this “Interim Order”) (a) authorizing,
but not directing, the Debtors to pay certain prepetition Critical Vendor Claims in an amount not
to exceed the Critical Vendors Interim Order Cap absent further order of the Court, (b) granting
related relief, and (c) scheduling a final hearing to consider approval of the Motion on a final basis,
all as more fully set forth in the Motion and upon the First Day Declaration; and this Court having
jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order; and that this Court may enter a final order consistent with Article III of the United States

 

Constitution; and this Court having found that venue of this proceeding and the Motion in this
district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the

Debtors’ notice of the Motion and opportunity for a hearing on the Motion were appropriate under

 

| The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: PES Holdings, LLC (8157); North Yard GP, LLC (5458); North Yard Logistics, L.P. (5952); PES
Administrative Services, LLC (3022); PES Energy Inc. (0661); PES Intermediate, LLC (0074); PES Ultimate
Holdings, LLC (6061); and Philadelphia Energy Solutions Refining and Marketing LLC (9574). The Debtors’
service address is: 1735 Market Street, Philadelphia, Pennsylvania 19103.

2 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.

 
 

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the circumstances and no other notice need be provided; and this Court having reviewed
the Motion and having heard the statements in support of the relief requested therein at a hearing
before this Court (the “Hearing’”); and this Court having determined that the legal and factual bases
set forth in the Motion and at the Hearing establish just cause for the relief granted herein; and upon
all of the proceedings had before this Court; and after due deliberation and sufficient cause
appearing therefor, it is HEREBY ORDERED THAT:
1. The Motion is granted on an interim basis as set forth herein.
2. The final hearing (the “Final Hearing”) on the Motion shall be held o

2019, atlé: 004m., prevailing Eastern Time. Any objections or responses to entry of a final order
on the Motion shall be filed on or before 4:00 p.m., prevailing Eastern Time, on! + 019,
and shall be served on: (a) proposed counsel to the Debtors, (i) Kirkland & Ellis LLP,
601 Lexington Avenue, New York, New York 10022, Attn: Edward O. Sassower, P.C., Steven
N. Serajeddini, and Matthew C. Fagen; and (ii) Pachulski Stang Zieh] & Jones LLP, 919 North
Market Street, 17th Floor, P.O. Box 8705, Wilmington, Delaware 19899-8705 (Courier 19801),
Attn: Laura Davis Jones; (b) counsel to the DIP Lenders, (i) Davis Polk & Wardwell LLP,
450 Lexington Avenue, New York, New York 10017, Attn: Damian S. Schaible and Aryeh E.
Falk, and (ii) Morris, Nichols, Arsht & Tunnell LLP, 1201 North Market Street, 16th Floor, P.O.
Box 1347, Wilmington, Delaware 19899-1347, Attn: Robert J. Dehney and Andrew R. Remming;
(c) counsel to ICBC Standard Bank Plc; (d) counsel to the official committee of unsecured
creditors (if any) appointed in these chapter 11 cases; (e) the Internal Revenue Service, (f) the U.S.
Trustee for the District of Delaware, and (g) any other party that has filed a request for notices

with the Court. In the event no objections to entry of the Final Order on the Motion are timely

received, this Court may enter such Final Order without need for the Final Hearing.

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3. The Debtors are authorized to pay or honor prepetition Critical Vendor Claims in
an interim amount not to exceed $9.34 million (the “Critical Vendors Interim Order Cap”) absent
further order of the Court.

4. The Debtors are authorized, in their reasonable business judgment, to pay Critical
Vendor Claims, in whole or in part, subject to the Critical Vendors Interim Order Cap, upon such
terms and in the manner provided in this Interim Order; provided that if any party accepts payment
hereunder and does not continue supplying goods or services to the Debtors in accordance with
trade terms at least as favorable to the Debtors as those practices and programs (including credit
limits, pricing, cash discounts, timing of payments, allowances, product mix, availability, and other
programs) in place in the 120 days immediately prior to the Petition Date, then: (a) any payment
on account of a prepetition claim received by such party shall be deemed, in the Debtors’ sole
discretion, an improper postpetition transfer and, the Debtors reserve their right to recover such
postpetition payment; (b) upon recovery by the Debtors, any prepetition claim of such party shall
be reinstated as if the payment had not been made; and (c)if there exists an outstanding
postpetition balance due from the Debtors to such party, the Debtors may elect to recharacterize
and apply any payment made pursuant to the relief requested by the Motion to such outstanding
postpetition balance and such supplier or vendor will be required to repay to the Debtors such paid

amounts that exceed the postpetition obligations then outstanding without the right of any setoffs,

claims, provisions for payment of any claims, or otherwise. The Debtors shall provide a copy of

this Interim Order to the applicable party prior to such party’s acceptance of any payment
hereunder. Any party that accepts payment from the Debtors on account of a Critical Vendor

Claim shall be deemed to have agreed to the terms and provisions of this Interim Order.
 

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5. Notwithstanding the relief granted in this Interim Order and any actions taken
pursuant to such relief, nothing in this Interim Order shall be deemed: (a) an admission as to the
validity of any prepetition claim against a Debtor entity; (b) a waiver of the Debtors’ or any other
party in interest’s rights to dispute any prepetition claim on any grounds; (c)a promise or
requirement to pay a prepetition claim; (d) an implication or admission that any particular claim is
of a type specified or defined in the Motion or in this Interim Order; (e) a request or authorization
to assume any prepetition agreement, contract, or lease pursuant to section 365 of the Bankruptcy
Code; or (f) a waiver of the Debtors’ or any other party in interest’s rights under the Bankruptcy
Code or any other applicable law.

6. The banks and financial institutions on which checks were drawn or electronic
payment requests made in payment of the prepetition obligations approved herein are authorized
to receive, process, honor, and pay all such checks and electronic payment requests when presented
for payment, and all such banks and financial institutions are authorized to rely on the Debtors’
designation of any particular check or electronic payment request as approved by this Interim
Order.

7. The Debtors are authorized to issue postpetition checks, or to effect postpetition
fund transfer requests, in replacement of any checks or fund transfer requests that are dishonored
as a consequence of these chapter 11 cases with respect to prepetition amounts owed in connection
with any Critical Vendor Claims.

8. Notwithstanding anything to the contrary in this Interim Order, any payment made,

or authorization contained, hereunder, shall be subject to the requirements imposed on the Debtors

under any order of this Court approving the debtor in possession financing facility and use of cash

 
 

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collateral (the “DIP Order”). In the event of any inconsistency between the terms of this Interim
Order and the DIP Order, the terms of the DIP Order shall govern.

9. The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b).

10. Notice of the Motion as provided therein shall be deemed good and sufficient notice
of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied
by such notice.

11. Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Interim
Order are immediately effective and enforceable upon its entry.

12. The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Interim Order in accordance with the Motion.

13. This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcemen is Interim Order.
Dated: Gul ZF 2019 Keun -
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aware THE HONORABLE KEVINGROSS

 

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UNITED STATES BAN PTCY JUDGE

 
